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    1 RIMON, P.C.
      Mark Lee (SBN 94103)
    2 mark.lee@rimonlaw.com
      2029 Century Park East, Suite 400N
    3 Los Angeles, California 90067
      Telephone/Facsimile: 213.375.3811
    4
      RIMON, P.C.
    5 Zheng Liu (SBN: 229311)
      zheng.liu@rimonlaw.com
    6 800 Oak Grove Avenue, Suite 250
      Menlo Park, California 94025
    7 Telephone/Facsimile: 650.461.4433
    8 Attorneys for Defendants
      INTERFOCUS INC. d.b.a. www.patpat.com
    9
   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                      Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                               DECLARATION OF MARK S. LEE
                   Plaintiff,                       IN SUPPORT OF DEFENDANT
   15                                               AND COUNTERCLAIM
            v.                                      PLAINTIFF INTERFOCUS, INC.
   16                                               D.B.A. WWW.PATPAT.COM’S
      INTERFOCUS, INC. d.b.a.                       APPLICATION TO FILE UNDER
   17 www.patpat.com, a Delaware                    SEAL PREVIOUSLY ENTERED
      Corporation; CAN WANG, and                    INTO SETTLEMENT
   18 individual, and DOES 1-10, inclusive.,        AGREEMENT
   19              Defendants.                      Filed Concurrently with Application to
                                                    File Under Seal and [Proposed] Order
   20
      INTERFOCUS, INC. d.b.a.                       Date: August 16, 2021
   21 www.patpat.com, a Delaware                    Time: 10:00 am
      Corporation; CAN WANG, an                     Courtroom: Courtroom 8D
   22 individual, and DOES 1-10, inclusive,
                                                    The Hon. Christina A. Snyder
   23              Counterclaim Plaintiffs,
   24        v.
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
   28
                                                1
        DECLARATION OF MARK S. LEE IN SUPPORT OF APPLICATION TO FILE UNDER SEAL PREVIOUSLY
                              ENTERED INTO SETTLEMENT AGREEMENT
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    1        I, Mark S. Lee, declare:
    2        1.     I am a lawyer admitted to practice before this Court, and am a partner
    3 at Rimon, P.C., counsel of record for Interfocus, Inc. d.b.a. www.patpat.com
    4 (“Interfocus”) in this matter. I have personal knowledge of the following facts
    5 except where otherwise indicated based on my personal participation in the matters
    6 described, and if called upon as a witness, I could and would competently testify
    7 thereto.
    8        2.     InterFocus is concurrently filing and has designated as Exhibit 2 a
    9 redacted version of a settlement agreement it entered into with Neman Brothers
   10 before Neman Brothers filed suit in this action in support of its motions for
   11 summary judgment and partial summary judgment herein. That settlement
   12 agreement has a provision designating its contents as confidential. InterFocus wants
   13 to fully comply with its obligations under that agreement by maintaining its
   14 confidentiality as much as possible.
   15        3.     However, InterFocus has filed a counterclaim against Neman Brothers
   16 herein which alleges that Neman Brothers breached that settlement agreement, and it
   17 also wants the Court to have available to it the complete contents of that settlement
   18 agreement when it evaluates InterFocus’ motions. An order allowing the complete
   19 agreement to be filed under seal would allow the Court such access while
   20 maintaining its confidential nature from the public. We thus attach as Exhibit 3 an
   21 unredacted copy of the entire settlement agreement.
   22        4.     On behalf of InterFocus, I respectfully request that the Court order the
   23 unredacted settlement agreement to be filed under seal.
   24        I declare under penalty of perjury under the laws of the United States that the
   25 foregoing is true and correct. Executed this 13th day of July, 2021, at Los Angeles,
   26 California.
   27
                                                     /s/ Mark S. Lee
   28                                                Mark S. Lee
                                                 2
         DECLARATION OF MARK S. LEE IN SUPPORT OF APPLICATION TO FILE UNDER SEAL PREVIOUSLY
                               ENTERED INTO SETTLEMENT AGREEMENT
